UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 Virginia L. Giuffre,

          Plaintiff,

 v.                                               Case No.: 15-cv-07433-LAP

 Ghislaine Maxwell,

          Defendant.


                                 NOTICE OF APPEARANCE

         PLEASE TAKE NOTICE that Cynthia A. Gierhart of the law firm of Holland & Knight

LLP hereby appears in this action as counsel for Intervenors Julie Brown and Miami Herald

Media Company and accordingly respectfully requests that she be electronically served (at the e-

mail address listed below) with a copy of any future pleadings, filings and submission to the

Court.

Dated: June 22, 2020                                 Respectfully submitted,

                                                     s/ Cynthia A. Gierhart
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